
567 So.2d 5 (1990)
D.L., a Juvenile, Appellant,
v.
The STATE of Florida, Appellee.
No. 89-2602.
District Court of Appeal of Florida, Third District.
July 24, 1990.
Rehearing Denied October 12, 1990.
*6 Bennett H. Brummer, Public Defender, and Harvey J. Sepler, Asst. Public Defender, for appellant.
Robert A. Butterworth, Atty. Gen., and Joan L. Greenberg and Monique T. Befeler, Asst. Attys. Gen., for appellee.
Before BARKDULL, NESBITT and FERGUSON, JJ.
PER CURIAM.
D.L., a juvenile, was charged in a four-count petition for delinquency with burglary and theft of an auto, theft and/or criminal mischief to an auto, and resisting a law enforcement officer without violence. The trial court found D.L. guilty as charged and sentenced him to community control and counseling.
D.L. argues that the state failed to propound sufficient evidence to prove that the respondent intended to commit burglary, theft, or criminal mischief. The state responds that the trial court had before it sufficient evidence to permit it to reasonably conclude that the respondent, whether or not a party to the original theft of the auto in which he was a passenger, was aware that he was present in the conveyance of another without permission, a violation of section 810.08, Florida Statutes (1989), which prohibits trespass to a conveyance. Such conduct constitutes a lesser included misdemeanor of the offense of burglary with which D.L. was charged, and upon which a finding of delinquency could be based, see G.C. v. State, 560 So.2d 1186 (Fla. 3d DCA 1990).
We therefore affirm the adjudication of delinquency on the basis of trespass to a conveyance, and reverse insofar as the adjudication rested on the remaining offenses charged.
